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                                                                     February 7, 2020

BY ECF

The Honorable Alison J. Nathan
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2102
New York, NY 10007

       RE:     Innocence Project v. National Museum of Health and Medicine, No. 19-cv-1574
               Letter motion to file documents under seal

Dear Judge Nathan,

        Plaintiff submits this letter motion to file under seal its Response in Further Support of an
Order Permitting Disclosure of a Particular Document, and related documents. The documents to
be filed under seal all relate to the ongoing litigation regarding Plaintiff’s request to lift a non-
disclosure obligation with respect to a particular document that is currently subject to the
Protective Order in this case. See ECF Nos. 39, 42, 45, 51.

       In particular, we seek leave to file under seal the following three documents:

           (1) The brief that we are filing in response to the objections that have been submitted
               to the Court by one of the individuals at issue in the document. The brief
               identifies that individual and provide details about why Plaintiff believes the
               document should be disclosed. All of those matters remain subject to the
               Protective Order pending this Court’s determination.

           (2) One exhibit to Plaintiff’s brief. That exhibit is a recently-issued court opinion that
               discusses the individual in question by name and in some detail. Plaintiff is
               concerned that if it were filed on the public docket, it would clearly and
               prematurely disclose the identity of the individual whose name is currently
               protected.

           (3) The Certificate of Service showing that service was accomplished upon the two
               non-party individuals that the Court has invited to participate in this briefing.
               Both of their names remain subject to the protective order.
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        Once the Court has resolved whether and to what extent the information in question is
subject to a continuing non-disclosure obligation, Plaintiff will file copies of the sealed
documents on the public docket via ECF unredacted, as appropriate, in a manner consistent with
the Court’s ruling and its individual rules of practice.

       Defendant’s counsel consents to this motion to seal. We thank the Court for its time and
consideration.

                                                    Respectfully submitted,

                                                    /s/Jonathan Manes
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